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                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF MISSOURI
                                       EASTERN DISTRICT

UNITED STATES OF AMERICA,                        )
                                                 )
                          Plaintiff,             )
                                                 )
       v.                                        )
                                                 )       No. S1-4:16CR00159 AGF
LOREN ALLEN COPP,                                )
a/k/a “Sensei,”                                  )
                                                 )
                                                 )
                          Defendant.             )

                    GOVERNMENT'S MOTION FOR ENTRY OF A
              PROTECTIVE ORDER GOVERNING THE TRIAL TRANSCRIPT

       COMES NOW the United States of America, by and through its attorneys, Jeffrey B.

Jensen, United States Attorney for the eastern District of Missouri, and Jennifer A. Winfield,

Assistant United States Attorney for said District, and, pursuant to Federal Rule of Criminal

Procedure 16(d), moves for the entry of a protective order, and in support thereof states as follows:

       1.          The defendant is charged in the Indictment with violations of:

              i.    Count One: Production of Child Pornography in violation of Title 18 U.S.C.
                    Section 2252(a);
            ii.     Count Two: Production of Child Pornography in violation of Title 18 U.S.C.
                    Section 2252(a);
            iii.    Count Three: Attempted Production of Child Pornography in violation of Title
                    18 U.S.C. Section 2252(a);
            iv.     Count Four: Possession of Child Pornography in violation of Title 18 U.S.C.
                    Section 2252(a)(5)(B);
             v.     Count Five: Use of Interstate Facilities to Persuade, Induce, Entice, or Coerce a
                    Minor to Engage in Sexual Activity in violation of Title 18 U.S.C. Section 2422;
            vi.     Count Six: Use of Interstate Facilities to Persuade, Induce, Entice, or Coerce a
                    Minor to Engage in Sexual Activity in violation of Title 18 U.S.C. Section 2422;
         vii.       Count Seven: Use of Interstate Facilities to Transmit Information with the Intent
                    to Entice, Solicit or Encourage a Minor to Engage in Sexual Activity in violation
                    of Title 18 U.S.C. Section 2425;

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          viii.      Count Eight: Use of Interstate Facilities to Transmit Information with the Intent
                     to Entice, Solicit or Encourage a Minor to Engage in Sexual Activity in violation
                     of Title 18 U.S.C. Section 2425, and
              ix.    Count Nine: Use of Interstate Facilities to Transmit Information with the Intent
                     to Entice, Solicit or Encourage a Minor to Engage in Sexual Activity in violation
                     of Title 18 U.S.C. Section 2425.

         2.         The defendant is pro se and is being assisted by stand-by counsel, Nathan

Swanson.        In connection with this case, the government had turned over sensitive evidence

including the multiple minor victims’ video and audio-recorded interviews and other related

materials (i.e. interviews of Jane Does 1, 3, 4 and 5) under an earlier protective order. Doc. #141.

         3.         The entry of the earlier protective order was consistent with Rule 16(d) because the

discovery materials in this case implicate the privacy of third parties, and a district court may limit

discovery for good cause under Rule 16(d).        See United States v. Lee, 374 F.3d 637, 652 (8th Cir.

2004).    See also, United States v. Bulger, 283 F.R.D. 46, 52 (D. Mass 2012).

         4.         On March 14, 2019, the defendant requested a copy of the trial transcript in this

case and that request was granted by the Court. Doc. #227, 228. The trial transcript has been

prepared, including sealed portions of the trial, and will be turned over to the defendant very soon

by his stand-by counsel. Doc. #232-246.

         5.         Due to the trial transcript also containing information about minor victims, (i.e.

information about and testimony associated with Jane Does 1, 3 and 5), the government requests

that the defendant not disseminate or disclose the transcript to anyone (unless they are a part of the

defense team as more fully described below).

         6.         The United States further requests that the Protective Order limit who may obtain,

review and/or examine the trial transcript, so described under the conditions set forth, for the sole

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purpose of preparing the defense and for no other purpose to the following individuals (the defense

team):

               i.      the defendant;

               ii.     Persons employed by stand-by counsel who are assisting with the
                       preparation of the defense;

               iii.    Any investigator retained on behalf of Defendant Copp to assist in the
                       defense of this matter.

         7.    The United States further requests that the Protective Order provide that any

disputes concerning the Protective Order be resolved by this Court only after counsel for the United

States and defendant have first conferred and attempted to resolve the dispute.

         WHEREFORE, the government respectfully moves this Court to enter a Protective Order

limiting the disclosure and usage of all volumes of the aforementioned trial transcript in this case.


                                                      Respectfully submitted,


                                                      JEFFREY B. JENSEN
                                                      United States Attorney


                                                        /s/ Jennifer A. Winfield
                                                      JENNIFER A. WINFIELD, #53350MO
                                                      Assistant United States Attorney


                                 CERTIFICATE OF SERVICE
       I hereby certify that on July 15, 2019 the foregoing was filed electronically with the Clerk
of the Court to be served by operation of the Court’s electronic filing system upon Counsel of
Record.

                                                       /s/ Jennifer A. Winfield
                                                      JENNIFER A. WINFIELD, #53350MO
                                                      Assistant United States Attorney


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